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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE                        No. 2:20-cv-13134
 RUBINGH,
                                                    Hon. Linda V. Parker
               Plaintiffs,
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, JOCELYN BENSON, in her
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF STATE
 CANVASSERS,

              Defendants
  and

 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY,

               Intervenor-Defendants.

               THE CITY OF DETROIT’S EX PARTE MOTION
                       TO EXTEND PAGE LIMIT

        Intervenor-Defendant the City of Detroit (the “City”), by and through counsel,

respectfully requests leave to file its Motion for Sanctions, for Disciplinary Action,

for Disbarment Referral and for Referral to State Bar Disciplinary Bodies in excess

of the 25-page limit. In support of this request, the City states:
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      1.     The City seeks to file a Motion for Sanctions, for Disciplinary Action,

for Disbarment Referral and for Referral to State Bar Disciplinary Bodies.

      2.     Pursuant to Local Rule 7.1(d)(3), a brief supporting a motion may not

exceed 25 pages. However, the Rule permits parties to apply ex parte to file a longer

brief. Moreover, this Court has encouraged parties to request a page limit extension

“[w]hen page limits are inadequate for a party’s needs ….” Elhady v. Bradley, 438

F. Supp. 3d 797, 821 n. 11 (E.D. Mich. 2020).

      3.     The City requests leave to file a 38-page brief in order to address the

full scope of legal and factual issues raised in the Motion.

      4.     The City has limited the length of the brief without sacrificing clarity

and/or its ability to address the factual and legal issues supporting its Motion.

However, due to the number of factual and legal issues needing to be addressed, the

City has been unable to limit the brief to 25 pages.

      WHEREFORE, the City respectfully requests that this Court permit it to file

a 38-page brief in support of its Motion for Sanctions, for Disciplinary Action, for

Disbarment Referral and for Referral to State Bar Disciplinary Bodies.

                                              Respectfully submitted,
Dated: January 5, 2021
                                              FINK BRESSACK

                                              By: /s/ David H. Fink
                                              David H. Fink (P28235)
                                              Darryl Bressack (P67820)
                                              Nathan J. Fink (P75185)
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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 5, 2021, I electronically filed the foregoing

paper with the Clerk of the court using the electronic filing system, which sends

notice to all counsel of record.

                                      FINK BRESSACK

                                      By: /s/ Nathan J. Fink
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